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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                CHAPTER 13 CASE NO.:
JAMIE W. WREN                                                                18-14948-JDW

            OBJECTION TO CONFIRMATION OF FIRST AMENDED PLAN

       COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after conducting the Section 341(a) meeting of creditors, reviewing the Petition,

Schedules, and Statement of Financial Affairs, and files this Objection to Confirmation of First

Amended Plan (the “Objection”), and in support thereof states as follows:

       1.      The Debtor commenced this proceeding by filing a Voluntary Petition on December

17, 2018 (the “Petition Date”). The Debtor filed a proposed First Amended Chapter 13 Plan (Dkt.

#10) (the “Plan”) on December 21, 2018.

       2.      The Plan fails to comply with 11 U.S.C. §§ 1325(a)(1) and §521(a)(1)(B)(iv)

because the Debtor has failed to provide the Trustee with copies of required pay advices.

       3.      The Debtor should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.

       4.      For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which Trustee and this bankruptcy estate may be entitled.

       Dated: February 11, 2019.




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                                       Respectfully submitted,

                                       LOCKE D. BARKLEY
                                       CHAPTER 13 TRUSTEE

                               BY:     /s/ Melanie T. Vardaman
                                       ATTORNEYS FOR TRUSTEE
                                       W. Jeffrey Collier (MSB 10645)
                                       Melanie T. Vardaman (MSB 100392)
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                                       Jackson, Miss. 39211
                                       (601) 355-6661
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: February 11, 2019

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




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